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                      IN THE UNITED STATES DISTRICT COURT                                FILED
                     FOR THE EASTERN DISTRICT OF VIRGINIA
                                   NORFOLK DIVISION                                  FEB 7 I 2018
                                                                                                    ^
DAWN ADAMS,                                                                    CLERK, U.S. DISTRICT COURT
                                                                                      NORFOLK, VV.          j

       Plaintiff,

       V.



APPLIED BUSINESS SECURITY, INC.                            CIVIL N0.2:17cv527
d/b/a SECURITY COLLECTION
AGENCY


and


EQUIFAX INFORMATION SERVICES,
LLC,

       Defendants.


                                   OPINION AND ORDER


       This matter comes before the Court upon Dawn Adams' ("Plaintiff') Motion for Default

Judgment as to liability against defendant Applied Business Security, Inc. d/b/a Security

Collection Agency ("SCA"). ECF No. 11. For the reasons set forth below, Plaintiffs motion is

STAYED pending resolution of Plaintiffs case on the merits against defendant Equifax

Information Services, LLC ("Equifax").

I.     PROCEDURAL BACKGROUND


       Plaintiff filed the instant lawsuit on October 6, 2017. ECF No. 1. Her complaint seeks

actual, statutory and punitive damages and attorneys' fees and costs against SCA and Equifax for

alleged violations of the Fair Credit Reporting Act ("FCRA"), 15 U.S.C. § 1681, ^ sea., as well

as actual and punitive damages and costs against SCA for alleged defamation under Virginia

law. Id On November 2, 2017, Equifax filed its answer and defenses to Plaintiffs complaint.

ECF No. 5. However, SCA has yet to file an answer or otherwise appear in this lawsuit.


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       The record of this case shows that SCA was properly served process pursuant to Rule 4

of the Federal Rules of Civil Procedure and Section 8.01-329 of the Virginia Code via service

upon the Secretary of the Commonwealth whose Certificate of Compliance was docketed on

October 19, 2017. S^ ECF No. 4. When SCA failed to answer or otherwise appear within

twenty-one days of such service, Plaintiff asked the Clerk to enter default as to SCA pursuant to

Rule 55(a) of the Federal Rules of Civil Procedure. ECF No. 8. On November 11, 2017, the

Clerk entered default as to SCA as requested. ECF No. 9.

       On January 10, 2018, Plaintiff filed the instant motion for default judgment as to liability

against SCA ("Motion for Default Judgment") pursuant to Rule 55(b) of the Federal Rules of

Civil Procedure ("Rule 55(b)"). ECF No. 11. To date, SCA has not responded. Plaintiffs

Motion for Default Judgment is now before the Court.

II.    DISCUSSION


       Plaintiff seeks entry of default judgment as to liability against SCA, one of the two

named defendants in this case, and indicates that Plaintiff will "seek a trial by jury on the issues

of damages to be awarded against [SCA]" after such judgment is entered. ECF No. 11 at 1.

Rule 54(b) of the Federal Rules of Civil Procedure authorizes the Court to enter final judgment

as to fewer than all named defendants in a lawsuit following an express determination that "there

is no just reason for delay." Fed. R. Civ. P. 54(b). The question now before the Court is whether

the possibility of inconsistent judgments in the instant action constitutes a "just reason" to delay

entry of default judgment against SCA. S^ Phoenix Renovation Corp. v. Gulf Coast Software.

Inc.. 197 F.R.D. 530 (E.D. Va. 2000). For the reasons below, the Court finds that it does.

       A.      The Frow Rule and Its Progeny

       The Supreme Court first addressed this issue in Frow v. De La Vega. 82 U.S. 552 (1872).

In Frow. the plaintiff alleged that several defendants jointly conspired to defraud him. The trial
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court entered default judgment against one defendant, Frow, who failed to appear, but

subsequently found in favor of the remaining defendants who appeared and litigated the case on

the merits.      On appeal, the Supreme Court condemned these inconsistent judgments as

"unseemly and absurd" and ultimately vacated the default judgment against Frow. Id at 554.

       Since the adoption of Rule 54(b), many jurisdictions have construed the Frow rule to

apply only to situations of "true joint liability" among defendants. S^ Phoenix Renovation

Corp.. 197 F.R.D. at 583 (collecting cases). However, the Fourth Circuit has interpreted Rule

54(b) to extend the holding of Frow to situations where defendants' liability is joint and/or

several or otherwise closely interrelated. U.S. for Use of Hudson v. Peerless Ins. Co.. 374 F.2d

942, 944-45 (4th Cir. 1967).       Therefore, in light of Peerless Insurance, this Court has

consistently avoided entry of default judgment against one defendant where there is a risk of

unavoidable inconsistency with a later judgment with respect to other defendants. See, e.g..

Phoenix Renovation Corp.. 197 F.R.D. at 583; Jefferson v. Briner. Inc.. 461 F. Supp. 2d 430,436

(E.D. Va. 2006); Southern Bank and Trust Co. v. Prosperitv Beach. LLC. No. 2:14cv270, 2014

WL 4976598 (E.D. Va, 2014).

       B.        Analysis

       In order to determine whether the Frow rule should apply in the instant case, a brief

summary of Plaintiff s complaint is required.

            1.      Summary of Allegations in Plaintiffs Complaint

       Plaintiff claims that in August, 2015, she was erroneously billed by a hospital for medical

services for which she was not responsible. Compl,, ECF No. 1,        7-10. Despite her alleged

attempts to resolve the billing error with the hospital, Plaintiffs claims that the hospital

forwarded the unpaid bill to SCA, a "debt collector" within the meaning of the FCRA. 15 U.S.C.

§ 1692a(a)(6). Id       10-12. Plaintiff further claims that in December, 2015, she received a

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dunning letter from SCA with respect to the unpaid hospital bill, and she soon learned that SCA

had reported the debt to Equifax, a "consumer reporting agency" ("CRA") within the meaning of

the FCRA. 15 U.S.C. § 1681a(f).           Id     14-15, 5.    Plaintiff further claims that, between

December 2015 and March 2017, she contacted both SCA and Equifax on numerous occasions

to dispute the charge, but the unpaid hospital bill remained on her credit report without

modification or notations.' Id         16-17.

        Based on these allegations and others. Plaintiffs complaint asserts five counts against

Equifax and four separate counts against CSA. Specifically, Counts One through Five allege that

Equifax willfully or, in the alternative, negligently violated several provisions of the FCRA,

including (1) 15 U.S.C. § 1681e(b), for failing to assure the accuracy of Plaintiffs credit

information; (2) 15 U.S.C. § 1681i(a)(l), for failing to conduct a reasonable reinvestigation of

Plaintiffs disputed charge; (3) 15 U.S.C. § 1681i(a)(2)(A), for failing to notify CSA of

Plaintiffs disputed charge; (4) 15 U.S.C. § 1681i(a)(4), for failing to review all relevant

information submitted by Plaintiff with respect to the disputed charge; and (5) 15 U.S.C.

§ 1681i(a)(5)(a), for failing to properly delete or modify the disputed charge from Plaintiffs file

and notify Plaintiff of such action.

        Counts Six through Eight allege that CSA willfully or, in the alternative, negligently

violated several provisions of the FCRA, including (1)15 U.S.C. § 1681s-2(b)(l)(A), for failing

to conduct a reasonable investigation into Plaintiffs disputed charge; (2) 15 U.S.C. § 1681s-

2(b)(1)(B), for failing to review all relevant information provided by the CRA with respect to the

disputed charge; and (3) 15 U.S.C. §1681s-2(b)(l)(C) and (E), for failing to report the results of

such investigation to the CRA and properly block, modify, or delete the disputed charge from the

' In the Declaration of Dawn Adams, which is attached as an exhibit to the instant Motion for Default
Judgment, Plaintiff avers that the allegedly false information was finally removed from her credit report
in or around April 2017. ECF No. 12-1 ^ 21.

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information that is reported to the CRA. Finally, Count Nine alleges that SCA defamed Plaintiff

under Virginia law by falsely reporting Plaintiffs credit history.

              2.    The Frow Rule Applies Here.

        At the outset, the Court finds that Equifax and SCA are not alleged to be jointly liable for

any of the specific FCRA violations (Counts One though Eight) asserted in Plaintiffs

complaint.^ As summarized above, the two defendants are alleged to have violated separate

provisions of the FCRA. Moreover, CRAs (like Equifax) and furnishers of credit information

(like SCA) have different duties under the FCRA with respect to investigating and

reinvestigating disputed credit charges. Johnson v. MBNA Am. Bank. N.A.. 357 F.3d 426, 432-

33 (4th Cir. 2004); see also Gorman v. Wolpoff & Abramson. LLP. 584 F.3d 1147, 1156 (9th

Cir. 2009).

        Even so, Plaintiffs claims against Equifax and SCA are certainly factually intertwined.

For example, any duty of SCA as a fiamisher of credit information under 15 U.S.C. § 1681s-2(b)

is only triggered if and when it receives notice of a dispute by a CRA (here: Equifax).

Furthermore, SCA's duties under § 1681s-2(b) necessarily involve and depend on what

information it received from Equifax and when, as well as the communications SCA made to

Equifax after SCA completed an investigation, if any, to the disputed charge. S^ 15 U.S.C.

§ 1681s-2(b)(l)(A), (B), (C) and (E).              Likewise, Equifax's duties under 15 U.S.C.

§§ 1681i(a)(2)(A) and 1681i(a)(4) involve notifying and communicating with the furnisher,

SCA, regarding the disputed charge, and reviewing relevant information provided by the

consumer, which may, under certain circumstances, include information about SCA and whether

it is a reliable source of credit reporting. See, e.g.. Cushman v. Trans Union Corp.. 115 F.3d


^However, in Plaintiffs prayer for relief, she "prays that the Court enter a judgment for actual, statutory
and punitive damages against the DefendantsJointly and severally ..Compl., ECF No. 1, at 15.
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220, 225-26 (3d Cir. 1997) (citation omitted).

          Furthermore, it is possible for Plaintiffs theories of recovery with respect to both

defendants to be barred by the same factual finding, such as a finding that the disputed credit

information is accurate^ or a finding that Plaintiff has not suffered actual damages where

willfulness is not proven.       15 U.S.C. §§ 168In, I68I0. Therefore, even if Equifax and SCA

are not jointly and/or severally liable for the FCRA violations alleged in Plaintiffs complaint,

the two defendants are "similarly situated" with regard to certain facts, "which, if established,

would foreclose liability under the causes of action pleaded." Pheonix Renovation Corp.. 197

F.R.D. at 583. For this reason, the Court finds that the Frow rule should apply to this case.

          In addition, Plaintiffs motion for default judgment as to SCA seeks only a judgment as to

SCA's liability, not damages. As noted above, Plaintiff intends to request a trial on damages if

and when the Court enters the default judgment requested in the instant motion. ECF No. 11 at

1. However, such a trial would necessarily overlap with claims against Equifax given that

Plaintiff alleges the same damages with respect to both SCA and Equifax in her complaint. S^

Compl., ECF No. 1, t 23. For this reason, the Court finds that conducting a damages trial as to

SCA at the same time that Equifax litigates the instant case on the merits would result in costly

and duplicitous litigation efforts. For this reason too, the Court finds just reason to delay entry of

any default judgment against SCA until after resolution of Plaintiffs case against Equifax on the

merits.




^ Accuracy is a defense to Plaintiff's FCRA claims. ^     Letren v. Trans Union. LLC. No. CV PX 15-
3361, 2017 WL 445237, at *7 (D. Md. Feb. 2, 2017) ("Accuracy is a complete defense to a claim brought
under § 1681e(b).") (internal citation omitted); DeAndrade v. Trans Union LLC. 523 F.3d 61, 67 (1st Cir.
2008) (holding that accuracy is a defense to claims brought under § 1681i(a)); Chiang v. Verizon New
England Inc.. 595 F.3d 26, 37 (1st Cir. 2010) (holding that accuracy is a defense to claims brought under
§ 1681s-2(b), extending the holding of DeAndrade).
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IV.    CONCLUSION


       Accordingly, the Court hereby STAYS Plaintiffs Motion for Default Judgment as to

liability against defendant Security Collection Agency pending resolution of the instant case

against defendant Equifax Information Services, LLC on the merits. ECF No. 11.

       The Clerk is DIRECTED to forward a copy of this Opinion and Order to all Counsel of

Record and to defendant Security Collection Agency at its last known address.

       IT IS SO ORDERED.




                                                    UNITED STATES DISTRICT JUDGE
Norfolk, VA
February i-^, 2018
